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                           UNITED STATES DISTRICT COURT
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             CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
  8
  9    Sony Interactive Entertainment LLC,                  Case No. EDCV 18-2141 JGB
                                                                      (KKx)
10
                                              Plaintiffs,
11
                    v.
12                                                                  JUDGMENT
       Eric David Scales, dba Blackcloak13,
13
14                                        Defendants.
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16
17    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
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19
            Pursuant to the Order filed concurrently herewith, Plaintiff Sony Interactive
20
      LLC’s Motion for Default Judgment against Defendant Eric David Scales (dba
21
      “Blackcloak13”) is GRANTED.
22
23          Plaintiff is AWARDED $16,800 in statutory damages, $1,608 in attorneys’
24    fees, and $1,250 in costs.
25          Defendant and his agents, servant, employees, successors and assigns, and
26    all persons acting in concert with Defendant are ENJOINED from marketing,
27    offering, selling, transferring, advertising, promoting, developing, manufacturing,
28    importing, providing or otherwise trafficking in any products that infringe or
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  1   contribute to the infringement of Sony’s intellectual property rights, including its
  2   copyrights in PS4 video games and the PS Program Code, or to participate in or
  3   facilitate any such activity.
  4          Defendant and his agents, servant, employees, successors and assigns, and
  5   all persons acting in concert with Defendant are ENJOINED from directly or
  6   indirectly infringing, or enabling or contributing to infringement of, any copyright
  7   that Sony owns or is the exclusive licensee of, including copyrights in First-Party
  8   PS4 games and in the PS Program Code.
  9
             Defendant and his agents, servant, employees, successors and assigns, and
10
      all persons acting in concert with Defendant are ENJOINED from marketing,
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      offering, selling, transferring, advertising, promoting, developing, manufacturing,
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      importing, providing or otherwise trafficking in – via eBay, the website
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      http://foxhoundoutfitters.wixsite.com/ps3-jailbreak-mods or any other means or
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      channels – any products or services produced or designed to circumvent
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      technological measures that Sony employs to protect its exclusive copyright rights
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      in or to PS4 video games and the PS Program Code, including but not limited to (1)
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      “jailbroken” or “modded” PS4 consoles, and (2) jailbreaking or “modding”
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      services.
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  1         Sony is ORDERED to mail or personally serve a copy of this order and the
  2   judgment concurrently filed therewith to Defendant. Sony shall file Proof of
  3   Service with the Court within ten days of the date of this Order.
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       Dated: March 18, 2019
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  9                                            THE HONORABLE JESUS G. BERNAL
10                                             United States District Judge
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